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 4

 5                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 6

 7    FLOYD WALLACE                         ) Case No.: 2:23-cv-00809
                                            )
 8                     Plaintiff,           ) REPLY TO MOTION TO EXTEND
                                            ) TIME TO RESPOND TO MOTION
 9    v.                                    )
                                            )
10    LAS VEGAS METROPOLITAN POLICE         )
      DEPARTMENT, et al.                    )
11                                          )
                        Defendants.         )
12    _____________________________________ )

13                                           INTRODUCTION

14          I, Plaintiff Floyd Wallace, file this reply to Defendant LVMPD’s response at ECF No. 16

15 to object to the DVD improperly submitted by Defendants without any foundation or

16 authentication. This motion is made and based on the attached Memorandum of Points and

17 Authorities, the pleadings, and papers on file herein, and any oral argument allowed by counsel

18 at the time of the hearing.

19                           MEMORANDUM OF POINTS AND AUTHORITIES

20          A. Manual filed “evidence” submitted without authentication. Defendant LVMPD

21 submitted what appears to be a DVD of alleged business records, collected by some unknown

22 person, without a certificate of authenticity. There is also no affidavit saying that it is a true and

23 correct copy, in violation of Federal Rules of Evidence and Federal Rules of Civil Procedure.


                                                       1
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 1 The alleged evidence is also irrelevant to Plaintiff’s motion to extend time, and should be

 2 excluded.

 3            B. 75(d) does not equal 7.1(b)(1). My home state of Texas and the location of my last

 4 lawsuit had a similar local rule under LR7.7, but I intended to cite Rule 6, or did I? You see, the

 5 office phone number of Defendant LVMPD’s counsel is (702) 382-0711.

 6    (702) 382-0711                                      Start with this

 7    75( ) 82-0711                                       Add the 0, 3, 2 and move the parentheses
      75( ) 10-9                                          Add the 8 and 2, and the 0, 7, 1, 1
 8
      75( ) 1                                             Do the subtraction equation displayed
 9    75(Δ)                                               Replace the 1 with the sign of the illuminati

10    75(d)                                               Illuminati symbol is Greek letter D

11              This is clear evidence that Defendants counsel prepared my motion for extension of

12 time, in clear conflict with their client, as no waivers have been signed.

13                                                CONCLUSION

14            Accordingly, this moot reply has been a work of parody based on Defendant LVMPD’s

15 ludicrous conspiracy theories. Also, their “evidence” is not evidence. Defendant LVMPD is

16 playing games in clear violation of Rule 11. If this doesn’t illustrate that, I don’t know what will.

17

18 DATED: July 29, 2023                                   Respectfully submitted,

19
                                                          _______________________
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23


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